Case 08-14631-GMB   Doc 602-1 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc
                           Exhibit A Page 1 of 7




                            EXHIBIT “A”
Case 08-14631-GMB   Doc 602-1 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc
                           Exhibit A Page 2 of 7
Case 08-14631-GMB   Doc 602-1 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc
                           Exhibit A Page 3 of 7
Case 08-14631-GMB   Doc 602-1 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc
                           Exhibit A Page 4 of 7
Case 08-14631-GMB   Doc 602-1 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc
                           Exhibit A Page 5 of 7
Case 08-14631-GMB   Doc 602-1 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc
                           Exhibit A Page 6 of 7
Case 08-14631-GMB   Doc 602-1 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc
                           Exhibit A Page 7 of 7
